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                                                                          DATE FILED: 11/06/2020
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                                               :
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                  -v-                                                  : 19-CR-862 (VEC)
                                                                       :
LUIS SEPULVEDA,                                                        :     ORDER
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X


Valerie Caproni, United States District Judge:

       WHEREAS a change-in-counsel conference is scheduled for Thursday, November 12,

2020, at 9:00 A.M.;

       IT IS HEREBY ORDERED that the conference will be held using the CourtCall

platform. To optimize the quality of the video feed, the Court, the Defendant, defense counsel,

and the AUSA will appear by video for the proceeding; all others will participate by telephone.

Due to the limited capacity of the CourtCall system, only one counsel per party may participate.

Co-counsel, members of the press, and the public may access the audio feed of the conference by

calling 855-268-7844 and using access code 67812309# and PIN 9921299#.

       In advance of the conference, Chambers will email the parties with further information on

how to access the conference. Those participating by video will be provided a link to be pasted

into their browser. The link is non-transferrable and can be used by only one person;

further, it should be used only at the time of the conference because using it earlier could result

in disruptions to other proceedings.


       To optimize use of the CourtCall technology, all those participating by video should:
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           1. Use the most recent version of Firefox, Chrome, or Safari as the web browser. Do
              not use Internet Explorer.

           2. Use hard-wired internet or WiFi. If using WiFi, the device should be positioned
              as close to the Wi-Fi router as possible to ensure a strong signal. (Weak signals
              may cause delays or dropped feeds.)

           3. Minimize the number of others using the same WiFi router during the conference.

       Further, all participants must identify themselves every time they speak, spell any proper

names for the court reporter, and take care not to interrupt or speak over one another. Finally, all

of those accessing the conference—whether in listen-only mode or otherwise—are reminded that

recording or rebroadcasting of the proceeding is prohibited by law.



       SO ORDERED.

Dated: November 6, 2020                              __________________________________
       New York, New York                                        Valerie Caproni
                                                            United States District Judge




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